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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD LAIRD : CIVIL ACTION

v. NO. 23-3429

oe ee se

J. TERRA, WYNDER, HENSLEY, ALL
PROGRAM REVIEW COMMITTEE
MEMBERS AT SCI PHOENIX, DR
LAUREL HARDY :

ORDER

AND NOW, this 30 day of November 2023, upon considering the Commonwealth
Defendants’ Motion to dismiss (ECF No. 1{8), Plaintiff's Response (ECF No. 20), the
supplemental Response (ECF No. 22), and for reasons in the accompanying Memorandum
confirming Plaintiff may not proceed in the official capacity claims for damages against the
correctional facility’s officials given Eleventh Amendment immunity and has not plead the
individual involvement of cach named party consistent with his obligations under the civil rights
laws, but mindful of the Plaintiffs incarcerated pro se status, it is ORDERED we GRANT the
correctional facility’s officials’ Motion to dismiss (ECF No. 18) without prejudice to the Plaintiff
filing an amended Complaint no later than January 5, 2024, after carefully reviewing the
Motion to dismiss (ECF No, 18) and our accompanying Memorandum and pleading the personal

involvement of each named state actor as well as demonstrating a constitutional claim,

